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                                                                         Appendix C1

       Appendix C includes additional veil-piercing caselaw from three of the states that Plaintiffs focus on in their brief: Florida,
South Carolina, and Tennessee. This Appendix does not include additional caselaw from Georgia (another state on which Plaintiffs
focus in their brief) because the only Plaintiff implicating Georgia law has voluntarily dismissed their case against TPG. Lawrence
Berger v. Exactech, Inc., et al., Case No. 1:22-cv-06449-NGG-MMH, ECF 33 (Jan. 26, 2023) (Order).

                 Veil Piercing Appropriate Only In “Extraordinary,” “Extreme,” Or “Exceptional Circumstances”
                   Atmos Nation LLC v. Alibaba Grp. Holding Ltd., 2016 WL 1028332, at *6 (S.D. Fla. Mar. 15, 2016) (“Black-letter
      FL
                   law forbids equating a subsidiary with its parent absent extraordinary justification to pierce a corporate veil.”).2

                   Sturkie v. Sifly, 313 S.E.2d 316, 318 (S.C. Ct. App. 1984) (cited by Plaintiffs, Opp. 153) (“It is settled authority that
      SC           the doctrine of piercing the corporate veil is not to be applied without substantial reflection.”) (internal citation
                   omitted).

                   Bristol Pres., LLC v. IGC-Bristol, LLC, 2017 WL 2773663, at *7 (E.D. Tenn. June 26, 2017) (“[A] court will only
     TN            permit [veil-piercing] in ‘extreme circumstances.’ … [T]he presumption of separate identity ‘should be set aside only
                   with great caution and not precipitately.’”).

                                    The “Same” As, Or “Substantially Similar” To, Delaware Veil-Piercing Law
                   Robertson-Ceco Corp. v. Cornelius, 2007 WL 1020326, at *7 n.7 (N.D. Fla. Mar. 30, 2007) (“[The] Eleventh Circuit
      FL
                   has specifically noted that Delaware and Florida law are the same on veil-piercing ….”).

                   Duong v. N. Am. Transp. Servs. LLC, 2019 WL 13109647, at *10 n.7 (D.S.C. Sept. 25, 2019) (holding “the veil-
      SC
                   piercing analysis under South Carolina law and Delaware law is substantially similar”).



1
    This Appendix reflects Plaintiffs’ claims against TPG that have been consolidated in the MDL as of July 24, 2023.
2
    All emphases added unless otherwise indicated.
3
    Cases cited and points made by Plaintiffs are included in bolded, green text to highlight the extent of the parties’ agreement on substantive veil-piercing law.



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                Se. Texas Inns, Inc. v. Prime Hosp. Corp., 462 F.3d 666, 676 (6th Cir. 2006) (finding “striking parallels between
     TN         Delaware and Tennessee law pertaining to the issue of piercing the corporate veil” such that the “choice-of-law
                question is not outcome-determinative”).

                              Apply Multi-Factor Test; One Factor Insufficient To Pierce The Veil
                Iglesias v. Pernod Ricard, 2020 WL 13367465, at *5 (S.D. Fla. Aug. 17, 2020) (holding “enough of the factors must
                exist” and dismissing claim where plaintiff did “not allege[] the last two” factors); see also Dania Jai-Alai Palace,
      FL        Inc. v. Sykes, 450 So. 2d 1114, 1120 (Fla. 1984) (cited by Plaintiffs, Opp. 14) (“The mere fact that [the parent]
                own[s] and control[s] [the subsidiary] does not lead inevitably to [veil piercing] …. If this were the rule, it would
                completely destroy the corporate entity as a method of doing business ….”).

                Mid-S. Mgmt. Co. Inc. v. Sherwood Dev. Corp., 649 S.E.2d 135, 141 (S.C. Ct. App. 2007) (cited by Plaintiffs,
                Opp. 16) (“The conclusion to disregard the corporate entity must involve a number of the … factors ….”); see also
      SC        Gen. Holding, Inc. v. Cathcart, 2009 WL 9119981, at *13 (D.S.C. July 29, 2009) (cited by Plaintiffs, Opp. 15)
                (holding that that the veil-piercing test involves a multi-factor “analysis for which some” of the factors “must be
                present”).

                Appolo Fuels, Inc. v. Claiborne Heavy Hauling, 2014 WL 2803141, at *4 (E.D. Tenn. June 19, 2014) (“No one factor
     TN         is conclusive in determining whether to pierce the veil; instead courts consider a combination of the factors.”)
                (denying veil-piercing claim even where plaintiff alleged two veil-piercing factors applied) (internal citation omitted).



      To assess whether there is sufficient “domination and control” to warrant veil-piercing, courts in Florida, South Carolina, and
Tennessee look to the same or substantially similar factors that Delaware courts consider.

Forum               Factors #1, #2, #4:         Factor #3: Lack Of Corporate             Factor #5: Subsidiary Is A Façade Or Mere
             Undercapitalization, Insolvency,             Formalities                       Instrumentality With No Independent
               And “Siphoning” Of Funds                                                                 Significance
 DE        Verdantus Advisors, LLC v. Parker Verdantus, 2022 WL 611274, at *2            Verdantus, 2022 WL 611274, at *2
           Infrastructure Partners, LLC, 2022 (considering “whether corporate            (considering “whether, in general, the
           WL 611274, at *2 (Del. Ch. Mar. 2, formalities were observed”)                company simply functioned as a façade for



                                                                   2
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     2022) (considering “whether the          (internal citation omitted);             the dominant shareholder”) (internal citation
     company was adequately capitalized       Bentivoglio v. Event Cardio Grp.,        omitted).
     for the undertaking,” “whether the       Inc., 2019 WL 6341130, at *5
     company was solvent,” and “whether       (S.D.N.Y. Nov. 27, 2019) (applying       Nieves v. Insight Bldg. Co., LLC, 2020 WL
     the dominant shareholder siphoned        Delaware law and explaining              4463425, at *8 (Del. Ch. Aug. 4, 2020)
     company funds”) (internal citation       corporate formalities include, e.g.,     (holding “identical personnel” between the
     omitted).                                “whether dividends were paid,            parent and subsidiary “does not by itself
                                              corporate records kept, [and]            warrant ignoring the corporate form”); see
                                              officers and directors functioned        also United States v. Bestfoods, 524 U.S. 51,
                                              properly”).                              62 (1998) (“[I]t is hornbook law that … a
                                                                                       duplication of some or all of the directors or
                                                                                       executives [will not] be fatal.”).

FL   Hilton Oil Transp. v. Oil Transp. Co.,   Opp. 13 (“[T]he complaint must           In re Hillsborough Holdings Corp., 166 B.R.
     S.A., 659 So. 2d 1141, 1151-52 (Fla.     show a ‘blurring of the corporate        461, 471-72 (M.D. Fla. 1994) (cited by
     Dist. Ct. App. 1995) (considering        lines, such as … using [the              Plaintiffs, Opp. 13) (declining to pierce the
     “inadequate    capitalization”    and    subsidiary] for the [parent’s]           corporate veil even where a subsidiary was
     “whether funds are put in and taken      personal     interest.’”);   Century     obligated to “follow the orders of [the parent]
     out of the [subsidiary] for the          Senior Servs. v. Consumer Health         regarding significant business decisions” and
     [parent’s] … purposes”); see also        Benefit Ass’n., Inc., 770 F. Supp.       where the “parent manag[ed] all the cash
     Taser Int’l, Inc. v. Phazzer Elecs.,     2d 1261, 1266 (S.D. Fla. 2011)           generated by the subsidiaries” because there
     Inc., 2023 WL 2523447, at *1-2           (cited by Plaintiffs, Opp. 13)           “is substantial authority … that such
     (M.D. Fla. Mar. 14, 2023) (cited by      (holding plaintiff alleged sufficient    involvement by a parent is not only proper
     Plaintiffs, Opp. 23) (holding            veil-piercing facts, not present here,   but common and has been approved by the
     plaintiff alleged sufficient veil-       where the parent “failed to keep         courts” and holding otherwise would be
     piercing facts, not present here,        [the subsidiary] at an arm’s length”     “sheer, utter folly, and would defy common
     where the defendant “so dominated        and the two “shar[ed] a principal        business sense”) (collecting cases).
     and controlled [the other entity] and    place of business” amongst other
     used [that entity] for improper          facts).                                  Garcia v. Gravity Interactive, Inc., 2012 WL
     purposes” by “siphoning [its] assets                                              13005342, at *5 (S.D. Fla. Jan. 17, 2012)
     for his own personal use” amongst                                                 (“[O]ne-hundred percent ownership and
     other facts).                                                                     identity of directors are, even together, an
                                                                                       insufficient basis for applying an alter ego



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                                                                                     theory to pierce the corporate veil.”) (internal
                                                                                     citation omitted).

SC   Opp. 15 (“South Carolina courts          Opp. 15 (“South Carolina courts        Opp. 15-16 (“South Carolina courts consider
     consider … undercapitalization [and]     consider    …      observance    of    … [w]hether a subsidiary has been used as a
     … insolvency of the debtor               corporate formalities ….”); Sturkie,   façade” and “afford[s] [this factor] greater
     corporation ….”); Sturkie, 313           313 S.E.2d at 318 (cited by            weight than other factors.”); Gen. Holding,
     S.E.2d at 318 (cited by Plaintiffs,      Plaintiffs, Opp. 15) (considering      Inc., 2009 WL 9119981, at *13 (cited by
     Opp. 15) (considering whether the        whether the parent and the             Plaintiffs, Opp. 15) (considering whether the
     subsidiary “was undercapitalized,”       subsidiary “failed to observe          subsidiary’s “officers or other directors” were
     “was insolvent,” or “had its corporate   corporate formalities” and “lacked     “non-functioning”      and     “whether     the
     funds siphoned off by” the parent).      corporate records”).                   [subsidiary] was merely a façade for the
                                                                                     operations of the [parent]”).

                                                                                     S.C. Elec. & Gas Co. v. UGI Utils, Inc., 2012
                                                                                     WL 1432543, at *60 n.20 (D.S.C. Apr. 11,
                                                                                     2012) (“One-hundred percent ownership and
                                                                                     identity of directors and officers are, even
                                                                                     together, an insufficient basis for applying the
                                                                                     alter ego theory to pierce the corporate veil.”).

TN   Opp. 15 (“Tennessee courts look at a     Opp. 15 (“Tennessee courts look at     Opp. 15 (“Tennessee courts look at … the use
     variety of factors [including]           a variety of factors [including]       of the corporation as an instrumentality or
     undercapitalization of the subsidiary    employment of the same employees       business conduit for another corporation
     ….”); Fed. Deposit Ins. Corp. v.         or attorneys … and the failure to      ….”); Cont’l Bankers Life Ins. Co. of the S.
     Allen, 584 F. Supp. 386, 397 (E.D.       maintain arm’s length relationships    v. Bank of Alamo, 578 S.W.2d 625, 632-33
     Tenn. 1984) (cited by Plaintiffs,        ….”); Fed. Deposit Ins. Corp., 584     (Tenn. 1979) (cited by Plaintiffs, Opp. 15)
     Opp. 15) (“Factors to be considered      F. Supp. at 397 (cited by              (declining to pierce the corporate veil and
     in determining whether to disregard      Plaintiffs, Opp. 15) (“Factors to be   holding that veil piercing “requires proof
     the corporate veil include … whether     considered in determining whether      [that] … [t]he parent corporation … exercises
     the    corporation      was   grossly    to disregard the corporate veil        complete dominion over its subsidiary, not
     undercapitalized”      and   whether     include … the use of the same          only of finances, but of policy and business
     corporate assets were “diver[ted]” or    office or business location … [and]    practice[s] … so that the [subsidiary] ha[s] no



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“manipulat[ed] ….”).         the employment of the same separate mind, will or existence of its own”
                             employees or attorneys ….”). as to “make [the subsidiary] practically
                                                          indistinguishable” from the parent).

                                                             Gordon v. Greenview Hosp., Inc., 300 S.W.3d
                                                             635, 652 (Tenn. 2009) (“[T]he fact that … the
                                                             corporations have the same directors and
                                                             officers [do not] suffice to show that the two
                                                             are alter egos.”).




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